Case 4:16-cv-00178-CVE-PJC Document 2-1 Filed in USDC ND/OK on 04/04/16 Page 1 of 2

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                                                                         DISTRICT COl1RT
                                 IN THE DISTRICT COURT OF OTTAWA COUNTYOTTAWA C0.OKlA,
                                            STATE OF OKLAHOMA
                                                                                     SEP 21 2015
                                                                                CABBIE KEY COURT CLERK
       ADAM V. REED,                                                       BY

                   Plaixrtiff,

      -~5-                                              j c~~rro.: CC~-1~ 11q
      BEN E KEITH COMPANY,a Foreign
      Corporation

                  Defendant.                            I'

                                                 PETI'1'ION

              COMES NOW the Plaintiffand for Plaintiffs cause ofaction against the Defendant states:

              1. Plaintiff is a citizen and resident of the state of Oklahoma,residing in Ottawa County,

      Oklahoma.

             2. Defendant is a foreign corporation organized and existing pursuantto the laws ofthe state

     of Texas, but domesticated in Oklahoma for purposes of doing business.

             3. This Court has both the requiredjwisdiction and venue ofthe parties and subject matter.

             4. For two (2) years prior to March 13, 2013, Plaintiff was an employee of Defendant

     employer working and qualified as a delivery driver.

             •5. On March 13, 2013, the Plaintiff sustained awork-related injury to his right leg which

     ultimately resulted in Plaintiffhaving a substantial disability which limits Plaintifffrom the major

     life activities ofprolonged standing or walking and no kneeling or squatting.

             d. Defendant refused to allow Plaintiff to return to work after Plaintii~s connpletion of

     surgical medical treatment for the work-related injury.




                                                                                                EXHIBIT

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Case 4:16-cv-00178-CVE-PJC Document 2-1 Filed in USDC ND/OK on 04/04/16 Page 2 of 2




             7. Plaintiff made requests :for accommodations that would allow Plaintiff to perform the

     essential functions ofIus priorjob,or,in the alternative,for transfer to another specificjob for which

     he was qualified and which he could physically perform.

             8. Defendant declined to enter into any meaningful discussions regarding providing

     accommodations and fired Plaintiff because of his disabilities.

            9. Plaintifftimely filed a Charge ofDiscrimination with the Equat Employment Opportunity

     Commission and has received a Right to Sue letter an June 30,2015, which is within 90-days next

     preceding the filing ofthis action.

            10.As a result ofthe unlawfiil disability discrimination ofDefendant,Plaintiffhas sustained

    and continues to sustain loss of income earnings, Uot~i past acid future and has sustained other

    damages.

            11. The Defendant's actions were willful, wanton,malicious, and /or grossly negligent,for

    which Defendant should be punished by and award ofPunitive damages.

            WHEREFORE,premises considered,Plaintiff,Adam V.Reed,praysforjudgmentfor actual

    damages against the Defendant in an amount in excess of$75,000,and for punitive damages in an

    amount in excess of$75,000.

                                                  ADAM V. REED
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                                                  By
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